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 1   Jeffrey M. Davidson (SBN 248620)                         XAVIER BECERRA
     Alan Bersin (SBN 63874)                                  Attorney General of California
 2   COVINGTON & BURLING LLP                                  MICHAEL L. NEWMAN
     One Front Street, 35th Floor                             Supervising Deputy Attorney General
 3   San Francisco, CA 94111-5356                             JAMES F. ZAHRADKA II (SBN 196822)
     Telephone: (415) 591-6000                                1515 Clay Street, 20th Floor
 4   Facsimile: (415) 591-6091                                P.O. Box 70550
     Email: jdavidson@cov.com,                                Oakland, CA 94612-0550
 5   abersin@cov.com                                          Telephone: (510) 879-1247
     Attorneys for Plaintiffs The Regents of the University   E-mail: James.Zahradka@doj.ca.gov
 6   of California and Janet Napolitano, in her official      Attorneys for Plaintiff State of California
     capacity as President of the University of California
 7                                                            Joseph W. Cotchett (SBN 36324)
     GIBSON, DUNN & CRUTCHER LLP                              Nancy L. Fineman (SBN 124870)
 8   Theodore J. Boutrous, Jr. (SBN 132099)                   COTCHETT, PITRE & McCARTHY, LLP
 9   Ethan D. Dettmer (SBN 196046)                            San Francisco Airport Office Center
     Jesse S. Gabriel (SBN 263137)                            840 Malcolm Road, Suite 200
10   333 South Grand Avenue                                   Burlingame, CA 94010
     Los Angeles, CA 90071-3197                               Telephone: (650) 697-6000
11   Telephone: (213) 229-7000                                Facsimile: (650) 697-0577
     Facsimile: (213) 229-7520                                Email: nfineman@cpmlegal.com
12   Email: tboutrous@gibsondunn.com,                         Attorneys for Plaintiff City of San Jose
     edettmer@gibsondunn.com,
13   jgabriel@gibsondunn.com                                  Jonathan Weissglass (SBN 185008)
     Attorneys for Plaintiffs Dulce Garcia, Miriam            Stacey M. Leyton (SBN 203827)
14   Gonzalez Avila, Saul Jimenez Suarez, Viridiana           Eric P. Brown (SBN 284245)
     Chabolla Mendoza, Norma Ramirez, and Jirayut             ALTSHULER BERZON LLP
15   Latthivongskorn                                          177 Post Street, Suite 300
16                                                            San Francisco, CA 94108
     [Additional Counsel Listed on Signature Page]            Telephone: (415) 421-7151
17                                                            Facsimile: (415) 362-8064
                                                              Email: jweissglass@altber.com
18                                                            Attorneys for Plaintiffs County of Santa Clara and
                                                              Service Employees International Union Local 521
19
                                         UNITED STATES DISTRICT COURT
20                                     NORTHERN DISTRICT OF CALIFORNIA
                                            SAN FRANCISCO DIVISION
21
     REGENTS OF UNIVERSITY OF CALIFORNIA                      CASE NO. 17-CV-05211-WHA
22   and JANET NAPOLITANO, in her official
     capacity as President of the University of               APPENDIX IN SUPPORT OF PLAINTIFFS’
23   California,                                              MOTION FOR PROVISIONAL RELIEF
24                            Plaintiffs,
                     v.
25
     UNITED STATES DEPARTMENT OF
26   HOMELAND SECURITY and ELAINE DUKE, in
     her official capacity as Acting Secretary of the
27   Department of Homeland Security,
28                            Defendants.


                            APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                                                 Case No. 17-CV-05211-WHA
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     STATE OF CALIFORNIA, STATE OF MAINE,                   CASE NO. 17-CV-05235-WHA
 2   STATE OF MARYLAND, and STATE OF
     MINNESOTA,
 3
                             Plaintiffs,
 4
                     v.
 5   U.S. DEPARTMENT OF HOMELAND
     SECURITY, ELAINE DUKE, in her official
 6   capacity as Acting Secretary of the Department of
     Homeland Security, and the UNITED STATES OF
 7   AMERICA,
 8                           Defendants.
 9

10
     CITY OF SAN JOSE, a municipal corporation,             CASE NO. 17-CV-05329-WHA
11
                             Plaintiff,
12                   v.
13   DONALD J. TRUMP, President of the United
     States, in his official capacity, ELAINE C. DUKE,
14   in her official capacity, and the UNITED STATES
     OF AMERICA,
15
                             Defendants.
16

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18   DULCE GARCIA, MIRIAM GONZALEZ                         CASE NO. 17-CV-05380-WHA
     AVILA, SAUL JIMENEZ SUAREZ, VIRIDIANA
19   CHABOLLA MENDOZA, NORMA RAMIREZ,
     and JIRAYUT LATTHIVONGSKORN,
20
                             Plaintiffs,
21                   v.
22   UNITED STATES OF AMERICA, DONALD J.
     TRUMP, in his official capacity as President of the
23   United States, U.S. DEPARTMENT OF
     HOMELAND SECURITY, and ELAINE DUKE,
24   in her official capacity as Acting Secretary of
     Homeland Security,
25
                             Defendants.
26

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                                                Case No. 17-CV-05211-WHA
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 1

 2   COUNTY OF SANTA CLARA and SERVICE                    CASE NO. 17-CV-05813-WHA
     EMPLOYEES INTERNATIONAL UNION
 3   LOCAL 521,
 4                          Plaintiffs,

 5                  v.
     DONALD J. TRUMP, in his official capacity as
 6
     President of the United States, JEFFERSON
     BEAUREGARD SESSIONS, in his official
 7
     capacity as Attorney General of the United States;
     ELAINE DUKE, in her official capacity as Acting
 8
     Secretary of the Department of Homeland Security;
     and U.S. DEPARTMENT OF HOMELAND
 9
     SECURITY,
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                            Defendants.
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                           APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
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     California, Berkeley          and professional development of DACA-recipient
                                   students, including Joel Sati.
2    Jorge Aguilar,                Harm to mission of school district and academic       0008–0011
     Superintendent, Sacramento    outcomes of DACA-recipient students; potential
     Unified School District       loss of DACA-recipient employees
3    David Anderson, President,    Harm to interests of school to promote diversity      0012–0016
     St. Olaf College, Minnesota   and inclusivity and to retain DACA-recipient
                                   students
4    Ron Anderson, Senior Vice     Harm to school, student body, DACA-recipient          0017–0021
     Chancellor, Minnesota State   students, and more broadly, to Minnesota
     Colleges and Universities
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5    Martha Arevalo, Executive     Impact on organization’s resources to assist     0022–0029
     Director, CARECEN             individuals affected by rescission; harm to DACA
                                   recipients caused by abrupt and arbitrary
                                   deadlines; potential loss of DACA-recipient
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6    Iyari Arteaga                 Impact of Plaintiff Dulce Garcia’s work on her        0030–0034
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7    Jhoana Ascencion Vazquez      Plaintiff Miriam Gonzalez’s reliance on DACA          0035–0043
                                   and her contributions at the University of
                                   California, Los Angeles; Ms. Ascencion’s own
                                   reliance on DACA and the impact of rescission.
                                   Ms. Ascencion is a teacher through Teach for
                                   America. The rescission of DACA will impact
                                   her ability to continue teach and to go to graduate
                                   school to further her profession. She has already
                                   experienced emotional and physical distress as a
                                   result of DACA’s rescission and has to put her
                                   plans for her future on hold.
8    Pamela Beckwith, Human        Importance of DACA to Plaintiff Viridiana             0044–0056
     Resource Manager, Public      Chabolla working at Public Counsel
     Counsel



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9    Bill Blazar, Senior Vice        Importance of DACA to productivity and               0057–0061
     President, Minnesota            competitiveness of Minnesota workforce and
     Chamber of Commerce             businesses
10   Clarence Braddock III, Vice     Impact on DACA-recipient fourth-year medical         0062–0067
     Dean of Education, David        students trying to secure medical residency
     Geffen School of Medicine,      positions; contributions of these students to the
     University of California, Los   school’s educational environment and curriculum
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11   Ike Brannon and Logan           Demographics, educational attainment, and            0068–0077
     Albright, Capital Policy        economic contribution of DACA recipients
     Analytics                       generally and in California
12   Shawn Brick, Associate        DACA-recipient population in the university            0078–0085
     Director of Student Financial community and the significant investments made
     Support, University of        in these students
     California Office of the
     President
13   Natalie Cardenas, Legal         Plaintiff Dulce Garcia’s reliance on DACA; her       0086–0091
     Assistant, Garcia Law Firm      reliance on Garcia for employment
14   Viridiana Carrizales,           Importance of employees with DACA to                 0092–0097
     Managing Director, DACA         organizational mission and the educational
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     Teach for America
15   Viridiana Chabolla Mendoza      Ms. Chabolla was brought to the United States        0098–0163
     (Plaintiff)                     from Mexico when she was only two years old,
                                     and she is currently a first year law student at
                                     U.C. Irvine School of Law. She has been
                                     suffering from anxiety attacks and health issues
                                     since the DACA rescission was announced and is
                                     struggling with whether to continue making
                                     personal and financial investments in attending
                                     law school, since the termination of DACA will
                                     impact her ability to work as an attorney.
16   Angela Chen, Director, Pre-     Harm of rescission on medical profession;            0164–0171
     Health Dreamers                 Plaintiff New Latthivongskorn’s contributions to
                                     the community; impact of rescission of DACA on
                                     Plaintiff New Latthivongskorn and similarly-
                                     situated pre-health students and health-profession
                                     graduate students.



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17   Sara Cody, Health Officer      Harm to efforts by public health agency to           0172–0179
     and Director of Public         establish trust with and deliver health care
     Health, County of Santa        services to immigrant communities important to
     Clara                          the health and well-being of the County
18   Doe #1, DACA Recipient         Doe #1 arrived in the United States at age six, and 0180–0187
                                    is currently a senior undergraduate student at the
                                    University of California and an aspiring
                                    immigration lawyer. DACA has enabled her to
                                    accept employment and pursue her career
                                    aspirations, and fears the impact of the rescission
                                    on her career prospects.
19   Norberto Duenas, City          Information about the City’s demographics,           0188–0204
     Manager of San Jose            immigration services, and contributions by
                                    immigrants.
20   Kathryn Eidmann, Staff         Plaintiff Viridiana Chabolla’s reliance on DACA      0205–0210
     Attorney, Public Counsel       and her contributions to the work of Public
                                    Counsel
21   Christopher Engelmann,         Impact of Plaintiff Norma Ramirez’s work at          0211–0217
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     East Monrovia Outpatient       of DACA rescission on Ms. Ramirez, her clients,
                                    colleagues, and community


22   Alan Essig, Meg Wiehe, and     Economic contribution of DACA recipients             0218–0239
     Misha Hill, Institute on       generally and in California, Maine, Maryland,
     Taxation and Economic          and Maryland
     Policy
23   Miriam Feldblum, Vice          Importance of DACA to educational outcomes of        0240–0247
     President and Dean of          young immigrant youth and specifically Plaintiff
     Students, Pomona College       Viridiana Chabolla
24   Moises Fuentes, DACA           Mr. Fuentes comes from a family of agricultural      0248–0252
     Recipient                      workers, but DACA has enabled him to work
                                    towards his dream of being a computer
                                    programmer. The loss of DACA will limit access
                                    to financial aid, and the loss of his work
                                    authorization will limit the employment
                                    opportunities he needs to help support his college
                                    education.



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25   Dulce Garcia (Plaintiff)       Ms. Garcia is a DACA recipient who has her own       0253–0326
                                    law practice, with offices in San Diego and Chula
                                    Vista, California. She fears that without DACA
                                    she will be forced to shut down her law practice.
                                    Since the termination of DACA, she has
                                    experienced emotional and physical symptoms,
                                    and has placed her decision to become a foster
                                    parent and adopt a child on hold because of the
                                    uncertainty she now faces professionally and
                                    personally.
26   Edgardo Garcia, City of San    Harm to efforts by law enforcement to establish      0327–0331
     Jose Police Chief              trust with immigrant community and to provide
                                    for public safety
27   Gabriel Garcia, Stanford       Importance of undocumented status to Plaintiff       0332–0336
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     Medicine                       school; importance of DACA to Stanford
                                    Medicine’s ability to admit similarly-situated
                                    students.
28   George Gascón, District      Harm to efforts by law enforcement to establish        0337–0343
     Attorney, City and County of trust with immigrant communities and to provide
     San Francisco                for public safety
29   Katharine Gin, Executive       Impact of DACA on access to educational              0344–0348
     Director, Educators for Fair   opportunities in medical fields; impact on
     Consideration                  cancelling DACA on access to medicine; New’s
                                    background and character
30   Lisa Gonzales, Assistant     Harm to educational outcomes of DACA-                  0349–0355
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     Educational Services, Dublin learning environment
     Unified School District;
     President, Association of
     California School
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31   Roberto Gonzales, Professor    Impact on the education and employment        0356–0389
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     University                     recipients in context of their unique
                                    circumstances and characteristics
32   Miriam Gonzalez (Plaintiff)    Ms. Gonzales is a DACA recipient who is              0390–0442
                                    currently teaching at Crown Prep Academy and
                                    completing her Teaching Credential and Master’s

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                                    Degree in Education at Loyola Marymount
                                    University. She is worried that the rescissions of
                                    DACA will impede her ability to be a teacher and
                                    complete her studies, which would impact her
                                    ability to financially support her family. She is
                                    experiencing terrible migraines caused by the
                                    stress and uncertainty she now faces
                                    professionally and personally.
33   Dellara Gorjian, DACA          Ms. Gorjian arrived in the United States at age      0443–0449
     Recipient                      five, and is currently a first-year law student at
                                    University of California, Los Angeles. Ms.
                                    Gorjian fears the rescission of DACA will harm
                                    her career prospects and ability to repay her
                                    educational debt
34   Itzel Guillen, Immigration     Plaintiff Dulce Garcia’s volunteer activities with   0450–0455
     Integration Manager,           Alliance San Diego and her contributions to the
     Alliance San Diego             community
35   Elizabeth Hadaway, Staff       Plaintiff Viridiana Chabolla’s reliance on DACA      0456–0460
     Attorney, Public Counsel       and her contributions to the work of Public
                                    Counsel
36   Jens Hainmueller and           Mental health outcomes of children of DACA-          0461–0484
     Duncan Lawrence                eligible women and related societal and economic
                                    costs
37   Alisa Hartz, Staff Attorney,   Plaintiff Viridiana Chabolla’s reliance on DACA      0485–0489
     Public Counsel                 and her contributions to the work of Public
                                    Counsel
38   Daniel Helguera, Former        Importance of DACA to Plaintiff Saul Jimenez’s       0490–0495
     Director of Athletics,         employment and his contributions at Roosevelt
     Roosevelt High School          High School
39   Ralph Hexter, Provost and      Impact on the UC system’s exercise of academic       0496–0504
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     University of California,      admission, advancement, research, and teaching
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40   Robin Holmes-Sullivan,         DACA-recipient students’ contributions to the        0505–0514
     Vice President for Student     UC system; academic, financial, and health
     Affairs, University of         impacts on UC and its students
     California Office of the
     President


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41   Marcela Zhou Huang,             Ms. Huang is currently enrolled in medical school 0515–0520
     DACA Recipient                  at UCLA. She was able to work as a clinical
                                     research coordinator, and previously served as a
                                     Spanish interpreter at a student-run homeless
                                     clinic. Ms. Huang fears that the rescission of
                                     DACA brings an uncertain future with respect to
                                     career as a physician – as she may not have the
                                     access to financial aid she needs to continue to
                                     study medicine.
42   Edwin Hudson, Deputy            Impact on the operations of state agencies; harm      0521–0539
     Commissioner, Minnesota         to agencies’ interest in promoting diversity and
     Department of Management        inclusion
     and Budget
43   Jessica Jenkins, Supervising    Impact on organization’s resources to assist          0540–0544
     Immigration Attorney,           individuals affected by rescission; psychological
     Center for Employment           harm of rescission on clients and on staff
     Training Immigration and
     Citizenship Program
44   Saul Jimenez (Plaintiff)        Mr. Jimenez is a special education teacher            0545–0628
                                     working towards his teaching credential through
                                     the Los Angeles Unified District Intern Program.
                                     Due to the impending loss of his DACA status
                                     and work authorization, Mr. Jimenez will be
                                     unable to complete his teaching credential and
                                     will lose his position as a special education
                                     teacher, harming his ability to provide for himself
                                     and his aging parents. He has already chosen not
                                     to pursue a master’s in education because of the
                                     DACA rescission, and the anxiety caused by his
                                     now uncertain future is affecting his teaching
                                     ability in the classroom.
45   Brad Jones, Professor of        Contributions and importance of DACA-recipient        0629–0636
     Political Science, University   students, including Doe #1, to scholarship and
     of California, Davis            the exchange of ideas; psychological harms to
                                     these students
46   Tuajuanda C. Jordan,            Harm to interests of school to promote diversity      0637–0643
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     Director, Immigrant Law         DACA recipients; impact on the economic and
     Center of Minnesota             psychological well-being of their families
48   Christopher Kutz, Professor     Contributions and importance of DACA-recipient       0651–0657
     of Law, Jurisprudence and       students, including Joel Sati, to scholarship and
     Social Policy Program,          the exchange of ideas; harms to professional
     University of California,       development of these students; diversion of
     Berkeley                        resources to address rescission
49   New Latthivongskorn             Mr. Latthivongskorn is a student at UCSF School 0658–0702
     (Plaintiff)                     of Medicine and the Harvard School of Public
                                     Health. With the loss of DACA status and work
                                     authorization, Mr. Latthivongskorn will be unable
                                     to complete his residency after he graduates
                                     medical school and will lose his ability to practice
                                     as a doctor, harming his ability to provide for
                                     himself and help his patients. The anxiety caused
                                     by his now uncertain future is affecting his health
                                     and his ability to participate in school.
50   Julie Lee, Director of          Harm to California’s state agencies resulting from 0703–0707
     Operations for the California   loss of DACA-recipient employees
     Governor’s Office
51   Linda Lopez, Director of Los USCIS outreach to stakeholders and local                0708–0711
     Angeles Mayor’s Office of    government in the wake of the DACA roll-out
     Immigrant Affairs
52   Paul Lorenz, Chief              Harm to finances of medical center and its ability   0712–0717
     Executive Officer, Santa        to deliver health care services important to the
     Clara Valley Medical Center     health and well-being of the County
53   Catherine Lucey, Vice Dean,     Impact on DACA-recipient fourth-year medical         0718–0725
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     University of California, San   positions; impact on school’s ability to train
     Francisco                       future physicians; loss of investments made in
                                     DACA-recipient students

54   Zulma Maciel, Assistant to      Harm to San Jose’s mandate to promote                0726–0762
     the City Manager of San         immigrant integration and loss of social and
     Jose Strategic Partnerships     economic contributions to San Jose.
     and Office of Immigrant
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55   James L. Madara, Chief         Harm of rescission on individual Dreamers,           0763–0771
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     Executive Vice President,      profession, and related societal costs.
     American Medical
     Association
56   Miguel Márquez, Chief          Loss of contributions of DACA-recipients; public     0772–0780
     Operating Officer, County of   health, public safety, and financial impact on the
     Santa Clara                    County
57   Kevin Maxwell, Chief           Harm to educational outcomes of DACA-               0781–0785
     Executive Officer, Prince      recipient students; rescission’s negative impact on
     George’s County, Maryland      ability of public school system to provide a safe
     Public Schools                 and welcoming learning environment
58   Anne McLeod, Senior Vice       Harm to public health outcomes and increase in       0786–0792
     President, Health and Policy   health care costs in California; importance of
     Innovation, California         DACA to California’s healthcare sector
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59   Nick Melvoin, Board            Plaintiff Saul Jimenez’s reliance on DACA and        0793–0800
     Member, Los Angeles            the disruption to his advancement that would be
     Unified School District        caused by the loss of DACA; benefits DACA has
                                    provided to the school district; harm caused by
                                    DACA rescission to LAUSD students and
                                    employees
60   Riko Mendez, Chief Elected     Union’s allocation of resources to assist DACA-      0801–0810
     Officer, SEIU Local 521        eligible individuals; harm to union members and
                                    the union resulting from potential loss of
                                    employment of DACA-recipient members;
                                    impact on union’s ability to serve immigrant
                                    communities.
61   Fernando Mendoza               Impact on the mental health and life outcomes of     0811–0851
                                    children of DACA recipients
62   Robert Menicocci, Director,    Separation of mixed-status families and impact       0852–0858
     County of Santa Clara Social   on child welfare services system
     Services Agency
63   H. Marissa Montes, Co-         Impact on organization’s resources to assist     0859–0867
     Director, Loyola Law School    individuals affected by rescission; harm to DACA
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     Justice Clinic                 deadlines



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65   Luz Marina Mosquera,           Plaintiff Norma Ramirez’s reliance on DACA            0878–0883
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66   Janet Napolitano, President,   Rationale behind DACA; role played by DACA           0884–0890
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                                    and its students and the harms to civic life and the
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67   Minh-Chau Nguyen, Staff        Impact on organization’s resources to assist          0891–0896
     Attorney, Asian Law            individuals affected by rescission; psychological
     Alliance                       harm of rescission on clients
68   Emily Nishi, Chief People      Importance of a key DACA-recipient employee           0897–0900
     Officer, Lyft                  to the success of the company
69   Eloy Ortiz Oakley,             Harm to California’s investment in the                0901–1066
     Chancellor, California         educational outcomes of its student population
     Community College System       and the economic and civic needs of California;
                                    harm to the mission of the California Community
                                    College System
70   Deidre O’Brien, Vice           Importance of DACA-recipient employees to the         1067–1096
     President of People, Apple     success of the company
71   Gilda Ochoa, Professor,        Plaintiff Viridiana Chabolla’s contributions to       1097–1105
     Pomona College                 Pomona College and career aspirations
72   Seung Eli Oh, DACA             Mr. Oh attended the University of Texas and           1106–1110
     Recipient                      presently works at Stanford University Medical
                                    Center as a critical care response nurse; DACA
                                    gave him the opportunity to pursue his career
                                    aspiration and to provide for his parents, while
                                    contributing significant taxes, but he is unable to
                                    renew due to the expiration of his DACA in
                                    October 2018.




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                                   for public safety
74   Thomas Parham, Vice           Benefits of the DACA program to University of           1121–1127
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     Affairs, University of        including the ability to obtain social security
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75   John Pelissero and Margaret   Importance of DACA to university’s admission to 1128–1134
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     University of Chicago         situated and undocumented students; DACA’s
                                   impact on Stritch School of Medicine’s decision
                                   to accept pre-health students such Plaintiff New
                                   Latthivongskorn; negative impact of rescission on
                                   student beneficiaries and university
76   Paul Pereira, Director of     Impact on mission and operation of the City             1135–1140
     Public Safety and             government and on public safety; harm to San
     Neighborhoods for Mayor       Jose’s employees and the community
     Sam Liccardo

77   Paul Pribbenow, President,    Harm to interests of school to promote diversity        1141–1145
     Augsburg University,          and inclusivity and to retain DACA-recipient
     Minnesota                     students
78   Norma Ramirez (Plaintiff)     Ms. Ramirez is enrolled in the clinical                 1146–1247
                                   psychology doctoral program at Fuller Graduate
                                   School of Psychology. The rescission of DACA
                                   is threatening her ability to continue in this
                                   program and to obtain her dream of opening a
                                   low-income clinic for the Latino/a community.
                                   She has already experienced emotional and
                                   physical distress as a result of DACA’s
                                   rescission, is unable to attend an international trip
                                   as part of her doctoral program because of the
                                   termination of advance parole, and is fearful for
                                   her personal and professional future without
                                   DACA.



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79   Susan Roche, Executive        Harm to education, employment, and career           1248–1253
     Director, Immigrant Legal     outcomes of DACA recipients; impact on the
     Advocacy Project, Maine       economic and psychological well-being of their
                                   families; harms to the larger community
80   Dayana Rodriguez Cabrera,     Ms. Rodriguez Cabrera worked to finance her         1254–1258
     DACA Recipient                studies at Diablo Valley Community College and
                                   presently works as a bilingual Medi-Cal
                                   Specialist at Contra Costa County; her income
                                   from this position supports her parents and
                                   siblings.
81   Julie Chavez Rodriguez,       USCIS outreach to stakeholders and local            1259–1263
     State Director for Sen.       government in the wake of the DACA roll-out
     Kamala Harris
82   Jeanne Roe-Smith, Campus      Plaintiff Miriam Gonzalez’s reliance on DACA;       1264–1273
     Minister, University of       her contributions at the University of California,
     California Los Angeles        Los Angeles; and the emotional harm that she and
     Wesley Foundation             others similarly situated have suffered as a result
                                   of DACA’s rescission.
83   Lisseth Rojas, Associate      Importance of DACA to Plaintiff Norma               1274–1283
     Professor and Advisor,        Ramirez’s ability to pursue doctoral program;
     Fuller Theological Seminary   impact of DACA rescission on emotional well-
                                   being of DACA recipients and their families
84   Jeffrey Rosen, District       Harm to efforts by law enforcement to promote       1284–1290
     Attorney, Santa Clara         public safety and pursue justice; harm to mission
     County                        from potential loss of DACA-recipient employee




85   Brian Rosenberg, President,   Harm to interests of school to promote diversity    1291–1295
     Macalester College,           and justice and to retain DACA-recipient students
     Minnesota
86   Angelica Salas, Executive     Impact on organization’s resources to assist        1296–1303
     Director, Coalition for       individuals affected by rescission; harm to
     Humane Immigrant Rights       organization due to potential loss of DACA-
     of Los Angeles                recipient employees
87   Mitchell Santos Toledo,       Mr. Santos Toledo arrived in the United States      1304–1312
     DACA Recipient                before the age of two; graduated from University
                                   of California, Berkeley; and is now a first-year
                                   student at Harvard Law School. DACA has

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                                    enabled him to secure employment and support
                                    his family, and pursue his academic and career
                                    aspirations. He relied on the renewal status of
                                    DACA in taking out loans for law school, and
                                    fears the impact of the rescission on his career
                                    prospects.
88   Joel Sati, DACA Recipient      Mr. Sati arrived in the United States at age nine,   1313–1325
                                    and is currently a second-year doctoral student at
                                    University of California, Berkeley. DACA has
                                    enabled him to support himself through college,
                                    work as a graduate student instructor, and pursue
                                    his academic and professional dreams.
                                    Termination of advance parole prevented him
                                    from traveling to prestigious academic
                                    conferences important to his career path.
89   Thomas Sayles, Senior Vice     Impact on the school’s student body, the             1326–1330
     President, University          educational outcomes of DACA recipients, and
     Relations, University of       the school’s investment in talented students
     Southern California
90   Jonathan Schwartz, Chief       Importance of DACA-recipient employees to the        1331–1337
     Legal & Corporate Affairs      success of the company
     Office, Univision
91   Laurie Smith, Sheriff, Santa   Harm to efforts by law enforcement to establish      1338–1343
     Clara County Sheriff’s         trust with immigrant communities and to provide
     Office                         for public safety


92   Jeffrey V. Smith, County       Loss of contributions of DACA-recipient              1344–1353
     Executive, County of Santa     employees; public health, public safety, and
     Clara                          financial impact on the County
93   John Stobo, Executive Vice     Importance of diverse doctors such as DACA           1354–1360
     President, University of       recipients in addressing California’s shortage of
     California Health (UC          doctors; impact on UC Health’s ability to train
     Health)                        diverse physicians; harm to patient care in
                                    immigrant communities; loss of investments
                                    made in DACA-recipient students
94   Vlad Stoicescu-Ghica           Plaintiff Miriam Gonzalez’s reliance on DACA         1361–1369
                                    and her contributions at the University of
                                    California, Los Angeles; Mr. Stoicescu-Ghica’s
                                    own reliance on DACA and the impact of

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                                   rescission. Mr. Stoicescu-Ghica is a graduate
                                   student at the U.C. Berkeley Goldman School of
                                   Public Policy. Without DACA and work
                                   authorization, Mr. Stoicescu-Ghica’s ability to
                                   pay for graduate school and support his mother
                                   are at risk. Mr. Stoicescu-Ghica is experiencing
                                   stress and anxiety caused by the uncertainty of
                                   the future.
95   Marcelo Suárez-Orozco,        Impact on the education, development, wellness,      1370–1443
     Dean and Professor of         and health of DACA recipients in context of their
     Education, University of      unique circumstances and characteristics
     California Los Angeles,
     Graduate School of
     Education & Information
     Studies
96   Emmanuel Alejandro            Mr. Tabares received his graduate degree from a    1444–1449
     Mendoza Tabares, DACA         California State University. DACA has enabled
     Recipient                     him to obtain employment in the construction
                                   industry. His wife, also a DACA recipient, is
                                   currently applying for graduate school and will be
                                   prevented from returning to teaching when her
                                   work authorization expires. They are not eligible
                                   to renew under the current policy and will soon
                                   lose their ability to support themselves and their
                                   family.
97   Diana Tellefson, Executive    Impact on organization’s resources to assist     1450–1455
     Director, United Farm         individuals affected by rescission; harm to DACA
     Workers’ Foundation           recipients caused by abrupt and arbitrary
                                   deadlines; harm to organization due to potential
                                   loss of DACA-recipient employees
98   Kathleen Treseder,            Potential loss of unique research contributions of   1456–1464
     Department Chair, Ecology     DACA-recipient doctoral student Evelyn Valdez-
     and Evolutionary Biology,     Ward and other DACA recipient students;
     School of Biological          diversion of resources to address the rescission
     Sciences, University of
     California, Irvine
99   Evelyn Valdez-Ward,           Ms. Valdez-Ward arrived in the United States         1465–1475
     DACA Recipient                from Mexico at six months old and is currently a
                                   Doctoral student in Ecology and Evolutionary
                                   Biology at University of California, Irvine.


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                                    DACA has enabled her to complete her college
                                    education and to support her family. She relied
                                    on DACA in making her decision to begin her
                                    graduate degree, which she may no longer
                                    continue. She has made significant contributions
                                    through her research and encouraging diverse
                                    students to enter in science, technology and math
                                    (STEM) fields.
100 Armando Vazquez-Ramos,          Harm to educational travel abroad program and       1476–1479
    Professor, California State     educational opportunities
    University Long Beach
101 Joseph Weiner, Senior Staff     Impact on organization’s resources to assist     1480–1487
    Attorney, Public Counsel        individuals affected by rescission; harm to DACA
                                    recipients caused by abrupt and arbitrary
                                    deadlines
102 Seth Womack, Former             Plaintiff Saul Jimenez’s character and his          1488–1493
    Football Coach, Oklahoma        contributions to the community and aspirations to
    Panhandle State University      help young people
103 Tom K. Wong, Assistant          Impact on the economic integration, education,      1494–1552
    Professor, University of        day-to-day life, and families of DACA recipients
    California, San Diego
104 Ian Yaffe, Executive            Harm to DACA recipients and their families and      1553–1559
    Director, Hand in Hand /        schools, economy, and the community in Maine
    Mano en Mano
                                    and local employers.
105 Geoffrey H. Young, Senior       Harm of rescission on individual Dreamers,          1560–1565
    Director, Student Affairs and   medical schools, residency programs, the medical
    Programs, Association of        profession, and related societal costs.
    American Medical Colleges
106 Xianzhan Zheng, DACA            Mr. Zheng attended Duke University and has           1566–1570
    Recipient                       worked as a software engineer at Amazon,
                                    Twitter, and Lyft; DACA has enabled him to
                                    provide for his parents and to purchase a car and
                                    properties while contributing significant state and
                                    local taxes; he fears the use of his information for
                                    immigration enforcement purposes; the rescission
                                    of DACA will result in fear, stigma, isolation, and
                                    the loss of meaning and joy to his life.



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107 Brad Wells, Associate Vice      Harm to California’s investment in the              1571-1576
    Chancellor, Business and        educational outcomes of its student population
    Finance, California State       and the economic and labor needs of California;
    University                      harm to the mission and finances of California
                                    State University
108 Jonathan Jayes-Green,           Mr. Jayes-Green received DACA while enrolled        1577-1582
    DACA Recipient                  in college, and DACA has enabled him to finance
                                    his college education, study abroad, and purchase
                                    a car and home. He has also been able to achieve
                                    his career goal to work in public service. The
                                    loss of DACA will mean that he is no longer able
                                    to work in his chosen field and has caused harm
                                    to his mental and physical health.
Declaration of Jesse Gabriel In Support Of Plaintiffs’ Motion For Provisional Relief    1583-2200
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